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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                           Chapter 11

PURDUE PHARMA L.P.,                              Case No. 19-23649 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

PURDUE PHARMA INC.,                              Case No. 19-23648 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

PURDUE TRANSDERMAL TECHNOLOGIES                  Case No. 19-23650 (RDD)
L.P.,

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

PURDUE PHARMA MANUFACTURING L.P.,                Case No. 19-23651 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX
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In re:                                            Chapter 11

PURDUE PHARMACEUTICALS L.P.,                      Case No. 19-23652 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

IMBRIUM THERAPEUTICS L.P.,                        Case No. 19-23653 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

ADLON THERAPEUTICS L.P.,                          Case No. 19-23654 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

GREENFIELD BIOVENTURES L.P.,                      Case No. 19-23655 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

SEVEN SEAS HILL CORP.,                            Case No. 19-23656 (RDD)

             Debtor.

No Fed. Tax Id.



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In re:                                            Chapter 11

OPHIR GREEN CORP.,                                Case No. 19-23657 (RDD)

             Debtor.

No Fed. Tax Id.


In re:                                            Chapter 11

PURDUE PHARMA OF PUERTO RICO,                     Case No. 19-23658 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

AVRIO HEALTH L.P.,                                Case No. 19-23659 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

PURDUE PHARMACEUTICAL PRODUCTS                    Case No. 19-23660 (RDD)
L.P.,

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

PURDUE NEUROSCIENCE COMPANY,                      Case No. 19-23661 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


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In re:                                            Chapter 11

NAYATT COVE LIFESCIENCE INC.,                     Case No. 19-23662 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

BUTTON LAND L.P.,                                 Case No. 19-23663 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

RHODES ASSOCIATES L.P.,                           Case No. 19-23666 (RDD)

             Debtor.

No Fed. Tax Id.


In re:                                            Chapter 11

PAUL LAND INC.,                                   Case No. 19-23664 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                            Chapter 11

QUIDNICK LAND L.P.,                               Case No. 19-23665 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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In re:                                           Chapter 11

RHODES PHARMACEUTICALS L.P.,                     Case No. 19-23667 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

RHODES TECHNOLOGIES,                             Case No. 19-23668 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

UDF LP,                                          Case No. 19-23669 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

SVC PHARMA LP,                                   Case No. 19-23670 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                           Chapter 11

SVC PHARMA INC.,                                 Case No. 19-23671 (RDD)

             Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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                                    ORDER DIRECTING
                        JOINT ADMINISTRATION OF CHAPTER 11 CASES

           Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) directing the joint administration of the Debtors’ chapter

11 cases for procedural purposes only; and the Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the

Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and

consideration of the Motion and the relief requested therein being a core proceeding under 28

U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been provided to the Notice Parties, and it

appearing that no other or further notice need be provided; and the Court having reviewed the

Motion and held a hearing to consider the relief requested in the Motion on September 17, 2019

(the “Hearing”); and upon the Lowne Declaration, filed contemporaneously with the Motion,

and the record of the Hearing; and after due deliberation the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish good and sufficient

cause for the relief granted herein,

           IT IS HEREBY ORDERED THAT

           1.       The relief requested in the Motion is hereby granted as set forth herein.

           2.       Pursuant to Bankruptcy Rule 1015(b), the above-captioned chapter 11 cases are

consolidated for procedural purposes only and shall be jointly administered by the Court.

           3.       Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the above-captioned cases.



1
    Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in the Motion.

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         4.     The caption of the jointly administered cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

PURDUE PHARMA L.P., et al.,                             Case No. 19-23649 (RDD)

                Debtors.                                (Jointly Administered)


         5.     The Debtors also seek the Court’s direction that a notation substantially similar to

the following be entered on the docket of each of the Debtors’ chapter 11 cases to reflect the

joint administration of these cases:

         An Order has been entered in this case directing the procedural consolidation and
         joint administration of the chapter 11 cases of Purdue Pharma L.P., Purdue
         Pharma Inc., Purdue Transdermal Technologies L.P., Purdue Pharma
         Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium Therapeutics L.P.,
         Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp.,
         Ophir Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue
         Pharmaceutical Products L.P., Purdue Neuroscience Company, Nayatt Cove
         Lifescience Inc., Button Land L.P., Rhodes Associates L.P., Paul Land Inc.,
         Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDF
         LP, SVC Pharma LP and SVC Pharma Inc. The docket in Case No. 19-23649
         (RDD) should be consulted for all matters affecting this case.
         6.     The contents of the Motion and the notice procedures set forth therein are good

and sufficient notice and satisfy the Bankruptcy Rules and the Local Bankruptcy Rules for the

Southern District of New York, and no other or further notice of the Motion or the entry of this

Order shall be required.


Dated: September 18, 2019                             /s/Robert D. Drain____________________
       White Plains, New York                         THE HONORABLE ROBERT D. DRAIN
                                                      U.S. BANKRUPTCY JUDGE




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